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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                      Central Division

STONE WORKS, LLC,                                     )
                                                      )
                      Plaintiff,                      )
                                                      )
       v.                                             )     Case No. 4:21-cv-941
                                                      )
RANDY SIMS, MEGAN SIMS, WILLIAM                       )
THOMAS, STONE CONCEPTS, LLC, MARTY                    )
HESCH, and EDWARD FRALEY,                             )
                                                      )
                      Defendants.                     )


                          DEFENDANT EDWARD FRALEY’S
                         MOTION FOR SUMMARY JUDGMENT


       Defendant Edward Fraley (“Fraley”) moves for summary judgment on Count I

(Conversion); Count II (Tortious Interference with Business Expectancy); Count III (Theft of

Trade Secrets); Count V (Unauthorized Computer Program Access and Theft); Count VI

(Unauthorized Access to Property); Count VII (Civil Conspiracy); Count IX (Violation of

Arkansas Deceptive Trade Practices Act); Count XI (Unjust Enrichment); and Count XII (Punitive

Damages) of Plaintiff’s Complaint. ECF No. 4. As a matter of law, Fraley is entitled to summary

judgment on these claims for the following reasons:

   1. As to Count I, the Court should grant summary judgment to Defendant Fraley, because

       Defendant Fraley did not exercise dominion over Plaintiff’s property.

   2. As to Count II, the Court should grant summary judgment to Defendant Fraley, because he

       did not intentionally interfere or cause a breach of a valid business expectancy, nor did he

       cause Plaintiff resulting damage.
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3. As to Count III, the Court should grant summary judgment to Defendant Fraley, because

   the Application did not contain trade secrets and his conduct with respect to the Application

   did not constitute “misappropriation” under the Defend Trade Secrets Act or the Arkansas

   Trade Secrets Act.

4. As to Count V, the Court should grant summary judgment to Defendant Fraley, because

   the claims against Defendant Fraley do not concern electronic information or information

   involving computers and the unconverted facts establish that Defendant Fraley did not

   commit Theft of Property under Arkansas law, the only crime alleged in Count V that does

   not concern computers.

5. As to Count VI, the Court should grant summary judgment to Defendant Fraley, because

   Defendant Fraley did not access a nonpublic area of Plaintiff’s commercial property, nor

   did he direct or assist the Defendant-Employees in doing so.

6. As to Count VII, the Court should grant summary judgment to Defendant Fraley, because

   there is no evidence to support the underlying tort claims and there is no evidence that

   Defendant Fraley worked with anyone to accomplish an unlawful or oppressive purpose

   against Plaintiff.

7. As to Count IX, the Court should grant summary judgment to Defendant Fraley, because

   Plaintiff is not a consumer under the ADTPA, Defendant Fraley did not engage in any

   deceptive or misleading consumer-oriented practice against Plaintiff, and Plaintiff has not

   suffered any actual financial loss attributable to Defendant Fraley.

8. As to Count XI, the Court should grant summary judgment to Defendant Fraley, because

   Plaintiff cannot establish that Defendant Fraley received something of value from Plaintiff

   for which Plaintiff should receive restitution.


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   9. As to Count XII, the Court should grant summary judgment to Defendant Fraley, because

       no reasonable jury could find grounds for awarding punitive damages against Defendant

       Fraley under the standard established by Ark. Code Ann. § 16-55-206.

       Fraley incorporates herein by reference his contemporaneously-filed Brief in Support of

Motion for Summary Judgment and Statement of Uncontroverted Material Facts.

       WHEREFORE, Defendant Edward Fraley requests the Court grant him summary judgment

as described herein and in his accompanying Brief, and grant Fraley such other and further relief

as the Court deems just and proper.

                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 15th day of March, 2022, a true and accurate
copy of the foregoing instrument was filed with the Court’s electronic filing system, which sent
notice of such filing to the following attorneys of record:

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       The undersigned hereby certifies further that on this 15th day of March 2022, a true and
accurate copy of the foregoing instrument was mailed via U.S. Regular Mail postage prepaid to
Pro Se Defendant William Thomas, 1205 Anemone Dr., North Little Rock, AR 72117.


                                                    Jason C. Smith

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